        Case 1:13-cv-04230-WSD Document 1 Filed 12/20/13 Page 1 of 25




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

NCR CORPORATION and RADIANT                 )
SYSTEMS, INC.,                              )
                                            )
      Plaintiffs,                           )
                                            )   CASE NO. _______________
      v.                                    )
                                            )
ALOHA POS SUPPORT, KRIS                     )
CHISLETT, and JOHN DOE.                     )
                                            )
      Defendants.                           )

                                  COMPLAINT

      Plaintiffs NCR Corporation and Radiant Systems, Inc. (collectively, “NCR”)

for their Complaint against Defendant Aloha POS Support, Kris Chislett, and John

Doe (collectively, “Defendants”), state as follows:

                          NATURE OF THE ACTION

      1.     This is an action for federal unfair competition under Section 43(a) of

the Lanham Act (15 U.S.C. § 1125(a)(1)(A)); federal trademark infringement

under Section 32(1) of the Lanham Act (15 U.S.C. § 1114(l)); false advertising

under Section 43(a)(1)(B) of the Lanham Act, 15 USC 1125(a)(1)(B); violation of

the federal Anticybersquatting Consumer Protection Act (15 U.S.C. § 1125(d));

Copyright Infringement (17 U.S.C. §501); common law unfair competition; and
          Case 1:13-cv-04230-WSD Document 1 Filed 12/20/13 Page 2 of 25




violation of the Georgia Fair Business Practices Act (O.C.G.A. § 10-1-390 et. seq).

This action is based on Defendants’ unauthorized and impermissible use of NCR’s

ALOHA trademark in connection with the supposed service and support it

purportedly         offers   to   NCR’s    ALOHA     software   customers   at   its

<alohapossupport.com> website and Defendants unlicensed copying, altering, and

distribution of NCR’s Aloha Tableservice software.         Defendants’ conduct has

caused actual confusion in the marketplace regarding NCR’s affiliation with,

sponsorship of, or approval of Defendants’ website and services.

                                          PARTIES

        2.         Plaintiff NCR Corporation is a Maryland corporation with its

principal place of business in Duluth, Georgia. Plaintiff Radiant Systems, Inc.

(“Radiant”) is a Georgia corporation with its principal place of business in

Alpharetta, Georgia. As of the date of this filing, Radiant is a wholly-owned

subsidiary of NCR; on or about December 31, 2013, Radiant will merge into NCR.

Radiant is the owner of the ALOHA trademark described herein pursuant to an

assignment recorded with the United States Patent and Trademark Office.

        3.         Defendant Aloha POS Support, upon information and belief, is an

unincorporated entity, with its corporate headquarters at 301 W. Bay Street, Suite


                                             2
US2008 5206709 1
          Case 1:13-cv-04230-WSD Document 1 Filed 12/20/13 Page 3 of 25




14120, Jacksonville, FL 32202. Upon information and belief, Defendant Aloha

POS Support is the owner of, or controls, the website accessible at

<alohapossupport.com>.

        4.         Defendant Kris Chislett, upon information and belief, is one of the

owner-operators of Defendant Aloha POS Support.

        5.         Defendant John Doe, upon information and belief, is another owner-

operator of Defendant Aloha POS Support. The <alohapossupport.com> website

identifies two individuals, “Kris and Trey,” as Aloha POS Support technicians. No

other identifying information, other than the first name “Trey” has been uncovered

to date regarding the second owner-operator of Defendant Aloha POS Support.

                              JURISDICTION AND VENUE

        6.         This Court has jurisdiction over the subject matter under 15 U.S.C. §

1121 and 28 U.S.C. §§ 1331, 1338, and 1367.

        7.         This Court has personal jurisdiction over Defendants. Defendants

advertise and do business in Georgia via Defendants’ interactive internet website

accessible at www.alohapossupport.com and offer services to Georgia residents in

particular at http://alohapossupport.com/aloha-pos-help-and-support-in-georgia/

and by reaching out to individuals in Georgia through direct email solicitations.


                                              3
US2008 5206709 1
          Case 1:13-cv-04230-WSD Document 1 Filed 12/20/13 Page 4 of 25




Further, Defendants are committing acts of trademark infringement and unfair

competition on an ongoing basis in this District and in interstate commerce.

        8.         Venue lies in this District under 28 U.S.C. §1391(b).

             PLAINTIFFS’ TRADEMARK RIGHTS AND COPYRIGHTS

        9.         NCR produces and sells NCR Aloha Restaurant POS Software, a

state-of-the-art, multi-functional restaurant point-of-sale (“POS”) software solution

under its well-known ALOHA trademark.                   NCR, directly or through its

predecessor-in-interest, has sold these goods under the ALOHA trademark in

commerce in the United States since as early as 1993.

        10.        In addition to providing POS software and terminals, NCR provides

direct technical, software support services to its Aloha customers through various

regional offices and through authorized service providers. NCR distributes and

sells its ALOHA products and services to restaurants throughout the United States.

        11.        NCR has advertised and promoted its products under the ALOHA

trademark in various media, including but not limited to its internet website

accessible at http://www.ncr.com/products/restaurant/pos-software/aloha.       As a

result of its extensive sales and advertising, NCR’s ALOHA trademark has become




                                               4
US2008 5206709 1
          Case 1:13-cv-04230-WSD Document 1 Filed 12/20/13 Page 5 of 25




an asset of incalculable value as a symbol of NCR’s quality POS software products

and NCR’s goodwill in the restaurant industry.

        12.        NCR, specifically its Radiant subsidiary, is the owner of the following

trademark, among others, registered in the United States Patent and Trademark

Office: Reg. No. 2,144,355, issued March 17, 1998 (the “ALOHA Mark”). The

ALOHA Mark registration is valid and subsisting and is in full force and effect. A

true and correct copy of the ALOHA Mark registration, along with the trademark

assignment assigning the rights in the ALOHA Mark to Radiant, are attached

hereto as Exhibit A.            Radiant’s rights in the ALOHA Mark have become

incontestable pursuant to 15 U.S.C. § 1065.

        13.        The ALOHA Mark, depicted below, is NCR’s trademark for its

restaurant point-of-sale systems:




                   NCR, or its predecessor-in-interest, has extensively used the ALOHA

Mark in commerce in the United States in connection with its state-of-the-art,

multi-functional restaurant point-of-sale solution since at least as early as July of

1993.
                                               5
US2008 5206709 1
          Case 1:13-cv-04230-WSD Document 1 Filed 12/20/13 Page 6 of 25




        14.        NCR’s adoption and use of its ALOHA Mark in connection with its

state-of-the-art, multi-functional restaurant point-of-sale solution occurred long

prior to Defendants’ unlawful use of the ALOHA Mark as described below.

        15.        In addition to its trademark rights conferred by its federal trademark

registration for the ALOHA Mark (USPTO Reg. No. 2,144,355), NCR has

developed common law trademark rights in ALOHA.

        16.        NCR’s ALOHA mark is inherently distinctive for software.

        17.        NCR and/or its predecessors in interest have extensively used and

promoted the mark in interstate commerce in connection with its software since at

least as early as 1993.

        18.        Through NCR’s extensive use and promotion of the ALOHA mark,

the mark has become associated with NCR and its high-quality software products

and related services.

        19.        In conjunction with NCR’s trademarks rights in the ALOHA mark,

NCR also holds several copyrights related to the ALOHA software.

        20.        The principal copyright is in the ALOHA software itself. NCR holds

a valid copyright in Aloha Tableservice, the point-of-sale software at issue in this

case. NCR’s copyright in Aloha Tableservice was duly and properly registered


                                               6
US2008 5206709 1
          Case 1:13-cv-04230-WSD Document 1 Filed 12/20/13 Page 7 of 25




with the United States Copyright Office, resulting in Copyright Reg. No.

TXu000796450. A particular version of the software, one that NCR understands

that the Defendants have illegally distributed without a license, V6.4.28, is also the

subject of a valid copyright, copyright Reg. No. TX 7-738-084.

        21.        NCR also holds a valid copyright in the ALOHA Table Service

Manager’s Guide, the user’s manual for Aloha Tableservice. NCR’s copyright in

the Aloha Table Service Manager’s Guide was duly and properly registered with

the United States Copyright Office, resulting in Copyright Reg. No. TX 7-738-201.

        22.        In addition, NCR holds valid copyrights in an image of the ALOHA

terminal displaying a blank screen. NCR’s copyright in the image of the ALOHA

terminal was duly and properly registered with the United States Copyright Office,

resulting in Copyright Reg. No. VA-1-876-548.

        23.        NCR distributes the ALOHA software and provides support services

through various regional offices throughout the United States.

        24.        In addition to its own regional offices, NCR works with authorized

resellers who sell and service NCR’s ALOHA software.




                                             7
US2008 5206709 1
          Case 1:13-cv-04230-WSD Document 1 Filed 12/20/13 Page 8 of 25




                       DEFENDANTS’ UNLAWFUL ACTIVITIES

        25.        Defendants operate a business with a website accessible at

<alohapossupport.com> (the “Aloha POS Support Site”). Defendants’ business

and their Aloha POS Support Site claim to offer technical support services for

NCR’s Aloha customers.

        26.        Each page of the Aloha POS Support Site is marked “Aloha POS

Support” in the upper left-hand corner. Defendants’ logo is confusingly similar to

the NCR’s ALOHA Mark and suggests to NCR customers that Defendants have

some connection to or association with NCR’s POS Software solutions and

products offered under the ALOHA Mark:




A printout of Defendants’ homepage, accessible via <alohapossupport.com>, is

attached hereto as Exhibit B.

        27.        The domain name <alohapossupport.com> is identical or confusingly

similar to the ALOHA Mark, and it is therefore likely to cause confusion among

NCR’s customers about the association (or lack thereof) between NCR and

Defendants.


                                             8
US2008 5206709 1
          Case 1:13-cv-04230-WSD Document 1 Filed 12/20/13 Page 9 of 25




        28.        Defendants’ website improperly displays a whole page, lifted almost

verbatim from the Table Service Manager’s Guide, NCR’s copyrighted work, at

<http://alohapossupport.com/what-is-aloha-point-of-sale/>, further adding to the

confusion of NCR’s customers and the Defendants’ illegal attempts to suggest an

association with or sponsorship by NCR.

        29.        The Defendants’ website also contains an embedded video, apparently

uploaded by Defendants to YouTube, which includes NCR’s copyrighted image of

the ALOHA terminal with a blank display, in violation of NCR’s rights in that

image. <http://alohapossupport.com/aloha-pos-help/>

        30.        The Defendants have also made improper and illegal use of NCR’s

ALOHA Mark by including the mark in email blasts that the Defendants send to

NCR customers and others by which the Defendants advertise their directly

competing products and services.

        31.        Defendants’ actions have caused actual consumer confusion among

NCR customers who sought technical support for NCR software offered under the

ALOHA Mark. As a result of Defendants’ prominent and unauthorized use of the

ALOHA Mark, or confusingly similar variations, NCR’s customers have been




                                             9
US2008 5206709 1
         Case 1:13-cv-04230-WSD Document 1 Filed 12/20/13 Page 10 of 25




misled into believing that NCR is the source of the Aloha POS Support Site, or that

NCR has sponsored or approved the site.

        32.        When NCR’s customers have mistaken Defendants either for NCR

itself or authorized resellers and/or servicers of NCR’s software, Defendants have

not disclaimed any association with NCR. To the contrary, Defendants have

falsely told NCR’s customers that they are official NCR support technicians.

        33.        In one telling example of customer confusion, a customer of NCR

contacted Defendants seeking help with a glitch in their ALOHA program after

finding Defendants’ phone number. During the customer’s call with Defendants,

one of the Defendants falsely claimed he was an official Aloha support technician

and that Defendants were the only option for technical support for ALOHA

software.

        34.        Defendants gained access to the customer’s ALOHA terminal and

attempted to fix the glitch, but they were unable to help the NCR customer.

Defendants used profanity during the call, offending the NCR customer, and

claimed the problem could only be fixed by installing a new version of the

ALOHA software.            Defendants then delivered a copy of NCR’s copyrighted




                                           10
US2008 5206709 1
         Case 1:13-cv-04230-WSD Document 1 Filed 12/20/13 Page 11 of 25




software to the customer for installation. Defendants, as noted above, are not

licensed to distribute the ALOHA software.

        35.        Defendants’ improper and illegal conduct in this incident led the NCR

customer to conclude that NCR could not be trusted to provide effective software

and services for its point-of-sale needs.

        36.        In another example, another customer of NCR granted NCR access to

the customer’s ALOHA terminal, where NCR found that the customer’s ALOHA

software had apparently been altered by Defendants to display a modified

screensaver that included Defendants’ ALOHA POS Support logo, depicted above,

and Defendants’ phone number, both neatly displayed below NCR’s valuable

ALOHA Mark.

        37.        The screensaver is a JPEG image that the Defendants host on their

own domain at <http://alohapossupport.com/wp-content/uploads/2013/05/Aloha-

POS-Support-Client-Desktop-Logo.jpg>.              Upon information and belief, the

Defendants edited the code in the NCR customer’s Tableservice software to link to

the JPEG, which is hosted on the Defendants’ domain. A copy of a screenshot,

showing the offending screensaver, is attached as Exhibit C.




                                              11
US2008 5206709 1
         Case 1:13-cv-04230-WSD Document 1 Filed 12/20/13 Page 12 of 25




        38.        The customer in question had been misled by Defendants into

believing they had never worked with anyone other than NCR in servicing their

software.      Upon information and belief, this customer contacted Defendants

believing them to be NCR and Defendants, after gaining access to the customer’s

terminal through remote connection, unlawfully modified the customer’s ALOHA

software to include Defendants’ phone number and logo.

        39.        Also upon information and belief, Defendants have unlawfully sold

software to consumers that is, in substantial part, copied from NCR’s copyrighted

Tableservice software. In particular, Defendants have created alternate versions of

the software to include the Defendants’ screensaver, which directly infringe on

NCR’s rights in the copyrighted software.

        40.        NCR has not licensed, authorized, sponsored, or approved

Defendants’ Aloha POS Support Site or Defendants’ use of the ALOHA Mark.

Defendants are not authorized NCR distributors, dealers, or service providers, nor

do Defendants obtain anything directly from NCR. NCR has no control over

Defendants’ Aloha POS Support Site accessible via <alohapossupport.com> or

their products or services. Consequently, NCR has no control over Defendants’

unauthorized use of the ALOHA Mark or Defendants’ provision of products or


                                            12
US2008 5206709 1
          Case 1:13-cv-04230-WSD Document 1 Filed 12/20/13 Page 13 of 25




services that Defendants represent to be technical support services for NCR’s

ALOHA software products or hardware that may run NCR’s ALOHA software

products.

        41.        According to the <whois.net> database, Defendant Kris Chislett is the

current       owner       of   the   <alohapossupport.com>      domain     name,    and

<www.godaddy.com> is the registrar of the domain. A printout of a <whois.net>

search for <alohapossupport.com> is attached hereto as Exhibit D.

        42.        Upon information and belief, Defendants have engaged in “Aloha

support” keyword purchasing on major search engines such as Google. A Google

search engine printout, demonstrating that Defendants have purchased such

advertising, is attached as Exhibit E.

        43.        Taken together, the name, web address, and appearance of

Defendants’ Aloha POS Support Site, along with the prominent display of the

scripted “Aloha POS Support,” which is nearly identical to the ALOHA Mark,

falsely suggests that Defendants are associated with NCR or in some way

authorized or approved by NCR to perform services for NCR’s customers.

        44.        Defendants have constructive notice of NCR’s trademark rights in its

federally registered ALOHA Mark pursuant to 15 U.S.C. § 1072. Because they


                                             13
US2008 5206709 1
         Case 1:13-cv-04230-WSD Document 1 Filed 12/20/13 Page 14 of 25




have refused to recognize and honor NCR’s trademark rights, Defendants have

acted unlawfully and, on information and belief, with an intent to trade upon and

capitalize on the ALOHA Mark and associated goodwill.

        45.        Defendants’ aforesaid acts of trademark infringement and unfair

competition have caused, and are likely to continue to cause, confusion, deception,

and mistake. Such acts have caused or will cause, and unless restrained by this

Court will continue to cause, serious and irreparable injury for which NCR has no

adequate remedy at law.

       COUNT I – FEDERAL UNFAIR COMPETITION/PASSING OFF

        46.        As its first ground for relief, NCR claims violation of Section 43(a) of

the Lanham Act, 15 U.S.C. § 1125(a)(1)(A).                NCR repeats and realleges the

allegations of Paragraphs 1-43 above as if fully set forth herein.

        47.        Defendants’ activities constitute use of a false designation of origin in

commerce, which is likely to cause confusion, or to cause mistake, or to deceive as

to the origin, sponsorship, or approval of Defendants’ business and their Aloha

POS Support Site.

        48.        NCR has been irreparably injured by Defendants’ aforementioned

acts, and unless Defendants are enjoined by this Court, NCR will suffer further


                                               14
US2008 5206709 1
         Case 1:13-cv-04230-WSD Document 1 Filed 12/20/13 Page 15 of 25




harm to its reputation and goodwill. This harm constitutes an injury for which

NCR has no adequate remedy at law.

              COUNT II – FEDERAL TRADEMARK INFRINGEMENT

        49.        As its second ground for relief, NCR claims violation of Section 32(1)

of the Lanham Act, 15 U.S.C. § 1114(1).                NCR repeats and realleges the

allegations of Paragraphs 1-46 above as if fully set forth herein.

        50.        Defendants’ unauthorized use of NCR’s federally-registered ALOHA

Mark in commerce is likely to cause confusion, mistake, or deception as to the

source, association or sponsorship of Defendants’ business and their Aloha POS

Support Site. The relevant public is likely to believe that Defendants’ business and

their Aloha POS Support Site originates with, is licensed by, sponsored by,

connected with, or associated with NCR.             Defendants’ prominent use of the

ALOHA Mark falsely represents Defendants and their website as being

legitimately connected with NCR, and places NCR’s reputation beyond its own

control.

        51.        NCR has been irreparably injured by Defendants’ aforementioned

acts, and unless Defendants are enjoined by this Court, NCR will suffer further




                                              15
US2008 5206709 1
         Case 1:13-cv-04230-WSD Document 1 Filed 12/20/13 Page 16 of 25




harm to its reputation and goodwill. This harm constitutes an injury for which

NCR has no adequate remedy at law.

     COUNT III – FALSE ADVERTISING UNDER THE LANHAM ACT

        52.        As its third ground for relief, NCR claims violation of Section

43(a)(1)(BH) of the Lanham Act, 15 USC 1125(a)(1)(B).              NCR repeats and

realleges the allegations of Paragraphs 1-49 above as if fully set forth herein.

        53.        Defendants, in communicating with NCR’s customers, through

various media and during telephone calls, have made false statements that they are

associated with or sanctioned by NCR that (a) were actual deceptions of NCR’s

customers and statements that have a tendency to deceive, (b) were material to the

NCR customers’ decision to work with Defendants in servicing their ALOHA

software, (c) were made in interstate commerce; and (d) have caused irreparable

injury to NCR’s business reputation and goodwill.

        54.        NCR has been irreparably injured by Defendants’ aforementioned

acts, and unless Defendants are enjoined by this Court, NCR will suffer further

harm to its reputation and goodwill. This harm constitutes an injury for which

NCR has no adequate remedy at law.




                                           16
US2008 5206709 1
         Case 1:13-cv-04230-WSD Document 1 Filed 12/20/13 Page 17 of 25




                         COUNT IV – ANTICYBERSQUATTING

                            CONSUMER PROTECTION ACT

        55.        As its fourth ground for relief, NCR claims violation of the Federal

Anticybersquatting Consumer Protection Act (15 U.S.C. § 1125(d)). NCR repeats

and realleges the allegations of Paragraphs 1-52 above as if fully set forth herein.

        56.        Defendants’ domain name <alohapossupport.com> violates NCR’s

rights in the ALOHA Mark, in violation of 15 U.S.C. § 1125(d)(1)(A)(ii), because

the domain name is identical or confusingly similar to the ALOHA Mark.

        57.        Defendants’ use of the word “aloha” in their domain name is likely to

divert NCR’s customers from NCR’s own website.

        58.        Defendants’ intentional use of the <alohapossupport.com> domain

name is likely to tarnish the goodwill associated with NCR’s ALOHA Mark and to

divert NCR’s customers to Defendants’ site.

        59.        Defendants have used NCR’s ALOHA Mark in the domain name

<alohapossupport.com> in bad faith with the intent to profit on the mark and to

divert NCR’s customers to their site.

        60.        The continued registration of the <alohapossupport.com> domain

name constitutes a violation of 15 U.S.C. § 1125(d)(2), which protects the owner


                                              17
US2008 5206709 1
         Case 1:13-cv-04230-WSD Document 1 Filed 12/20/13 Page 18 of 25




of U.S. trademarks and protects the registration of Internet domain names that are

confusingly similar to any registered trademark.

        61.        By virtue of the aforementioned acts, Defendants have committed a

violation of the Federal Anticybersquatting Consumer Protection Act, and NCR

has suffered and will continue to suffer irreparable harm to its goodwill.

                          COUNT V – COPYRIGHT INFRINGEMENT

        62.        As its fifth ground for relief, NCR hereby alleges Copyright

Infringement under 17 U.S.C. §501. NCR repeats and realleges the allegations of

Paragraphs 1-59 above as if fully set forth herein.

        63.        NCR is the sole owner of copyrights is the sole owner of the

copyrighted software, Reg. No. TXu000796450 and TX 7-738-084, the

copyrighted Aloha Tableservice Manager’s Guide, Reg. No. TX 7-738-201, and

the copyrighted image, VA 1-876-548.

        64.        Defendants have infringed the copyrights in NCR’s software by,

including but not limited to advertising, marketing, installing, offering, and/or

distributing infringing materials in the United States of America without approval

or authorization from NCR.




                                              18
US2008 5206709 1
         Case 1:13-cv-04230-WSD Document 1 Filed 12/20/13 Page 19 of 25




        65.        Defendants acted with willful blindness to and in reckless disregard of

NCR’s registered copyright in its Tablseservice Software and its other copyrights

associated with the ALOHA software.

        66.        As a result of their wrongful conduct, Defendants are liable to NCR

for copyright infringement under 17 U.S.C. § 501 and attorneys’ fees and costs

under 17 U.S.C. §505. NCR has suffered damages, and it entitled to recover those

damages, which include any and all profits Defendants have made as a result of

their wrongful conduct.          17 U.S.C. § 504. Alternatively, NCR is entitled to

statutory damages under 17 U.S.C. § 504(c), which should be enhanced in

accordance with 17 U.S.C. § 504(c)(2).

        67.        NCR has been irreparably injured by Defendants’ aforementioned acts

of copyright infringement, and unless Defendants are enjoined by this Court, NCR

will suffer further harm to its reputation and goodwill. NCR is therefore entitled to

injunctive relief pursuant to 17 U.S.C. § 502 and to an order impounding any and

all infringing materials pursuant to 17 U.S.C. § 503.




                                              19
US2008 5206709 1
         Case 1:13-cv-04230-WSD Document 1 Filed 12/20/13 Page 20 of 25




              COUNT VI – COMMON LAW UNFAIR COMPETITION

        68.        As its fifth ground for relief, NCR hereby alleges Georgia state

common law unfair competition. NCR repeats and realleges the allegations of

Paragraphs 1-65 above as if fully set forth herein.

        69.        As a result of their actions, as hereinabove pleaded, Defendants have

misappropriated valuable property rights of NCR, are trading on the goodwill

symbolized by NCR’s ALOHA Mark, and are likely to cause and continue to cause

confusion and to deceive members of the relevant public. NCR has no adequate

remedy at law.

        70.        By virtue of its aforementioned acts, Defendants have committed

common law unfair competition against NCR’s interests.

         COUNT VII – GEORGIA FAIR BUSINESS PRACTICES ACT

        71.        As its sixth ground for relief, NCR hereby alleges a violation of the

Georgia Fair Business Practices Act. NCR repeats and realleges the allegations of

Paragraphs 1-68 above as if fully set forth herein.

        72.        Defendants’ aforesaid business activities cause a likelihood of

confusion or misunderstanding as to the source, sponsorship, approval, affiliation

or connection of Defendants’ Aloha POS Support Site and the services Defendants


                                              20
US2008 5206709 1
         Case 1:13-cv-04230-WSD Document 1 Filed 12/20/13 Page 21 of 25




offer thereon inasmuch as they give rise to the incorrect belief that Defendants’

goods or services originate with or have some connection or affiliation with NCR,

in violation of the Georgia Fair Business Practices Act, O.C.G.A. § 10-1-390 et.

seq.

        73.        NCR has been irreparably injured by Defendants’ aforementioned

acts, and unless Defendants are enjoined by this Court, NCR will suffer further

harm to its reputation and goodwill.

                                PRAYER FOR RELIEF

                   WHEREFORE, NCR prays:

        1.         That Defendants, their agents, officers, servants, employees,

successors, companies and assigns, and all those in active concert or participation

with them, be preliminarily and permanently enjoined and restrained from:

                   A.   Using NCR’s trademarks on their Aloha POS Support Site or

any other website, or in any marketing or promotional materials, in a manner that

gives rise to a likelihood of confusion, mistake, or deception;

                   B.   Doing any other act likely to induce the mistaken belief that

Defendants are in any way affiliated, connected, or associated with NCR or its

products and services;


                                            21
US2008 5206709 1
         Case 1:13-cv-04230-WSD Document 1 Filed 12/20/13 Page 22 of 25




                   C.    Copying, using, or distributing any of NCR’s copyrighted

works or otherwise infringing on NCR’s copyrights.

                   D.    Unfairly competing with NCR in any manner whatsoever.

        2.         That Defendants transfer all rights to and interest in the

<alohapossupport.com> domain to NCR.

        3.         That the Court enter an order pursuant to 15 U.S.C. §

1116(a)(d)(1)(A) and 17 U.S.C. § 503 impounding all counterfeit and infringing

copies of purported NCR software and/or materials bearing any of NCR’s

trademarks, and any related item, including business records, in Defendants’

possession or under their control.

        4.         That the Court enter an order declaring that Defendants hold in trust,

as constructive trustees for the benefit of NCR, their illegal profits obtained from

their distribution of counterfeit and infringing copies of NCR’s software, and

requiring Defendants to provide NCR a full and complete accounting of all

amounts due and owing to NCR as a result of Defendants’ illegal activities.

        5.         That NCR be awarded monetary relief in an amount to be determined

by the Court, including:




                                              22
US2008 5206709 1
         Case 1:13-cv-04230-WSD Document 1 Filed 12/20/13 Page 23 of 25




                   A.    All profits received by Defendants from sales and revenues of

any kind made as a result of its infringing actions;

                   B.    All damages sustained by NCR as a result of Defendants’ acts

of infringement and unfair competition, and that such damages be trebled;

                   C.    Statutory damages pursuant to 15 U.S.C. §1117(d) and 17

U.S.C. §504; and

                   D.    Punitive damages.

        6.         That, because of the exceptional nature of this case resulting from

Defendants’ deliberate conduct and infringing actions, this Court award to NCR

reasonable attorneys’ fees, costs, and disbursements incurred as a result of this

action, pursuant to 15 U.S.C. § 1117 and 17 U.S.C §505.

        7.         That, pursuant to 15 U.S.C. § 1116, Defendants be directed to file

with the Court and serve on NCR, within thirty (30) days after issuance of an

injunction, a report in writing and under oath setting forth in detail the manner and

form in which Defendants have complied with the injunction.

        8.         That Defendants be ordered to produce to NCR a list of all customers

to whom Defendants have provided services in connection with NCR’s




                                             23
US2008 5206709 1
         Case 1:13-cv-04230-WSD Document 1 Filed 12/20/13 Page 24 of 25




copyrighted Aloha software including all contact information for those clients in

the Defendants’ possession.

        9.         That NCR has such other and further relief as this court may deem

just.

                                       JURY DEMAND

                   NCR demands a jury trial on all issues so triable.



        Respectfully submitted, this 20th day of December, 2013.

                                                    /s/John P. Jett
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                                               24
US2008 5206709 1
          Case 1:13-cv-04230-WSD Document 1 Filed 12/20/13 Page 25 of 25




                   LOCAL RULE 7.1 CERTIFICATE OF COMPLIANCE

        I hereby certify that the foregoing pleading filed with the Clerk of Court has

been prepared in 14 point Times New Roman font in accordance with Local Rule

5.1(C).

        Dated: December 20, 2013.

                                                      /s/ John P. Jett
                                                      John P. Jett




                                          25
US2008 5206709 1
